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                                 123200



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 In Re: COOK MEDICAL, INC., IVC FILTERS              Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                      MDL No. 2570
 PRODUCTS LIABILITY LITIGATION



 This Document Relates to Plaintiff(s):

 Jamel Howard - 1:20-cv-6134-RLY-TAB
 Eugene Applegate - 1:20-cv-06144-RLY-TAB
 Jason Oliger - 1:20-cv-06296-RLY-TAB
 Sheryl Harrison - 1:21-cv-06312-RLY-TAB
 Patricia Perdue - 1:20-cv-06225-RLY-TAB



                 MOTION TO WITHDRAW ATTORNEY APPEARANCE

       NOW COMES the above-captioned Plaintiffs who respectfully request permission to

withdraw the attorney appearance of Bradford J. Gilde and for such would show the Court as

follows:

       1.      Plaintiffs were initially represented by both Bradford J. Gilde and Basil E. Adham

of Johnson Law Group.

       2.      Bradford J. Gilde has subsequently left the law firm of Johnson Law Group.

       3.      Basil E. Adham and Johnson Law Group continue to represent Plaintiffs in each

respective matter.

       4.      As such, Plaintiffs seek an Order from the Court withdrawing Bradford J. Gilde as

counsel of record in each respective matter.

       5.      Plaintiffs have approved the withdrawal.
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         6.    This withdrawal is not requested for purposes of delay and will not prejudice any

party.

         WHEREFORE, Plaintiffs pray that this Honorable Court GRANT Plaintiffs’ Motion to

Withdraw Attorney Appearance, removing Bradford J. Gilde as counsel of record for Plaintiffs.



DATED: September 1, 2021                           Respectfully Submitted,

                                                   /s/ Basil E. Adham
                                                   Basil E. Adham (TX Bar No. 2408172)
                                                   JOHNSON LAW GROUP
                                                   2925 Richmond Ave., Ste. 1700
                                                   Houston, TX 77098
                                                   Phone: (713) 626-9336
                                                   ivc@johnsonlawgroup.com
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st day of September, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which automatically sends an

electronic notification to all counsel of record and other CM/ECF participants.


DATED: September 1, 2021                            /s/ Basil E. Adham
                                                    Basil E. Adham
